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                           EXHIBIT 6
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                                                                                            01st February 2021




 Dear Sirs,

 Re: French into English (UK) Certified Translation

 Language Reach Limited is a UK-registered professional translation and interpreting
 company and a fully qualified registered member of The Association of Translation
 Companies (Member No. 2018ATCR1238). We hereby confirm that we have
 translated the enclosed document(s) from French into English (UK).

 As a responsible translation agency we only employ certified linguists to work with
 us. We are satisfied with the linguistic accuracy and hereby confirm that the English
 (UK) written translation of the French document(s) represents its fair and
 accurate linguistic message as intended in the original file(s).

 We hereby confirm that this is a true and correct translation and certify the linguistic
 accuracy.

 For more information, please contact Language Reach Limited on +44 (0) 208 677
 3775.

 Yours sincerely,




 Lucia Petrulli
 Project Manager



                                                                                                     01/02/2021

        Registered in England & Wales 07635166 Tel: +44 (0) 208 677 3775 Email: info@languagereach.com
                           Address: Unit F11B, Parkhall Business Centre, London, SE21 8EN
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                       Embassy of the Islamic Republic of Iran
                                       Dakar
            _____________________________________________________

                              In the Name of Peaceful and Merciful God


    No. 3436/01/AID

    Date: 27th January 2021

           The Embassy of the Islamic Republic of Iran in Dakar, presents its
    compliments to the Ministry for Foreign Affairs and Communities in the Republic of
    Cape Verde, and, at the official request of the Venezuelan Government, has the honour of
    indicating that pursuant to letter no. DM N000789 of 3rd June 2020, from his Eminence Mr.
    Jorge Arreaza, Minister for Foreign Affairs in the Bolivarian Republic of Venezuela, to
    his Eminence Mr. Hojjatollah Soltani, Ambassador of the Islamic Republic of Iran in
    Caracas, Mr. Alex Saab, Special Envoy of the Bolivarian Government of Venezuela,
    was due to travel to Iran for official meetings with the Ministers for Oil, Industry and Health
    in the Islamic Republic of Iran and to undertake negotiations for the purchase of
    legitimate articles, including medication, food and fuel.
           The Embassy of the Islamic Republic of Iran in Dakar would like to underline that Mr.
    Alex Saab is considered to be an official figure by the Government of the Islamic
    Republic of Iran and an envoy of the Bolivarian Republic of Venezuela. It is appreciated that
    this note be considered in the same manner by the legal authorities in Cape Verde.
           The Embassy of the Islamic Republic of Iran takes this opportunity to renew its highest
    and most esteemed consideration with the Ministry for Foreign Affairs and Communities in the
    Republic of Cape Verde.
                                                                 [Signature]
                                                                 [Stamp]

    MINISTRY FOR FOREIGN AFFAIRS
    AND COMMUNITIES
    IN THE REPUBLIC OF CAPE VERDE

    ________________________________________________________________

                       17, Ave des Ambassadeurs – Fann Résidence – BP 735 Dakar
           Tel. 33 825 25 28 / 33 824 05 22 Fax: 33 824 23 14 – Email: iranemb.dkr@mfa.gov.ir
                                                                                                01/02/2021
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                       Embassy of the Islamic Republic of Iran
                                       Dakar
            _____________________________________________________

                              In the Name of Peaceful and Merciful God

    No. 3438/01/AID

    Date: 27th January 2021



          The Embassy of the Islamic Republic of Iran in Dakar presents its compliments
    to the Embassy of the Republic of Cape Verde in Dakar, and has the honour of sending
    note 3436/01/AID of 27th January 2021, pertaining to the status held by Mr. Alex Saab,
    Special Envoy of the Bolivarian Government of Venezuela and who is considered
    as an official figure by the Government of the Islamic Republic of Iran.
           Asking that said note kindly be sent to the Ministry for Foreign Affairs and
    Communities, the Ambassador of the Islamic Republic of Iran in Dakar takes this opportunity
    to renew its highest and most esteemed consideration with the Embassy of the Republic of
    Cape Verde in Dakar.




                                                                 [Signature]
                                                                 [Stamp]




    EMBASSY
    OF THE REPUBLIC OF CAPE VERDE




    ________________________________________________________________

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           Tel. 33 825 25 28 / 33 824 05 22 Fax: 33 824 23 14 – Email: iranemb.dkr@mfa.gov.ir


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        Ambassade de la République Islamique d'Iran
                          Dakar


                   Au Nom de Dieu Clément et Miséricordieux

   N° 3436/01/AID

   Le : 27 Janvier 2021


          L'Ambassade de la République Islamique d'Iran à Dakar,
   présente ses compliments au Ministère des Affaires étrangères et des
   Communauté de la République du Cabo Verde, et, à la demande
   officielle du gouvernement vénézuélien, a l'honneur d'informer que selon la
   lettre N° DM N000789 du 3 juin 2020, de S.E l\fonsieur Jorge Arreaza ,
   Ministre des affaires étrangères de la République bolivarienne du
   Venezuela, à S.E M. Hojjatollah Soltani, Ambassadeur de la République
   islamique d'Iran à Caracas, M. Alex Saab, Envoyé spécial du
   Gouvernement bolivarien du Venezuela, était supposé de se rendre en
   Iran pour des réunion officielle avec les ministres du pétrole, de l'industrie
   et de la santé de la République islamique d'Iran et entretenir des
   négociations pour l'achat d'articles légitimes, y compris des médicaments,
   de la nourriture et du carburant.
          L'Ambassade de la République islamique d'Iran à Dakar tient à
   souligner que M. Alex Saab est considéré comme une figure officielle
   par le Gouvernement de la République Islamique d'Iran et un envoyé
   de la République bolivarienne du Venezuela. Il est apprécié que la présente
   note soit reflétée au niveau des autorités judiciaires Capverdiennes.
          L'ambassade de la République islamique d'Iran saisit cette occasion
   pour renouveler au Ministère des Affaires étrangères et des Communautés
   de la République du Cabo Verde, les assurances de sa très haute
   considération.

   MINISTERE DES AFFAIRES ETRANGERES
   ET DES COMMUNAUTES
   DE LA REPUBLIQUE DU CABO VERDE

                                                                                           01/02/2021

                 17, Ave des Ambassadeurs - Fann Résidence - BP 735 Dakar
      Tel. 33 825 25 28 / 33 824 05 22 Fax: 33 824 23 14 - Email: iranemb.dkr@mfa.gov.ir
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        Ambassad e de la Républiqu e Islamique d'Iran
                           Dakar


                   Au Nom de Dieu Clément et Miséricordieu x

   N° 3438/01/AID

   Le : 27 Janvier 2021


        L'Ambassad e de la République Islamique d'Iran à
  Dakar présente ses compliments à l'Ambassad e de la
  République du Cabo Verde à Dakar, et a l'honneur de lui faire
  parvenir ci-joint la note 3436/01/AID en date du 27 Janvier 2021,
  relative au statut de M. Alex Saab, Envoyé spécial du
  Gouvernemen t bolivarien du Venezuela et considéré comme une
  figure officielle par le Gouverneme nt de la République Islamique
  d'Iran .
        Lui demandant de bien vouloir transmettre ladite note au
  Ministère des Affaires Etrangères et des Communaut és,
  l'Ambassade de la République Islamique d'Iran à Dakar saisit
  cette occasion pour renouveler à l'Ambassade de la République du
  Cabo Verde à Dakar, les assurances de sa très haute
  considération . \-{ r _




  AMBASSADE
  DE LA REPUBLIQU E DU CABO VERDE

                                                                                           01/02/2021


                17, Ave des Ambassadeurs - Fann Résidence - BP 735 Dakar
     Tel. 33 825 25 28 / 33 824 05 22 Fax: 33 824 23 14 - Email: iranemb.dkr@mf a.gov.ir
